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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION



In Re: John Edward Small, Jr.                                              CASE NO. 10-37875-KRH


                                   ORDER CONFIRMING PLAN

The Chapter 13 Plan filed by the Debtor on July 30, 2013, replaces all previously filed plans if any,
having been transmitted to all creditors; and it having been determined that the plan meets each of the
requirements of 11 U.S.C. § 1325(a);

       It is ORDERED that:


            (1)     the Plan as filed or modified is CONFIRMED.
            (2)     Upon entry of this order, all property of the estate shall revest in the Debtor.
                    Notwithstanding such revesting, the Debtor shall not encumber, refinance, sell or
                    otherwise convey real property without first obtaining an order of approval from
                    this Court.
            (3)     All funds received by the Chapter 13 Trustee on or before the date of an order of
                    conversion or dismissal shall be disbursed to creditors, unless such disbursement
                    would be de minimis, in which case the funds may be disbursed to the Debtor or
                    paid into the Treasury registry fund account of the Court, at the discretion of the
                    Trustee. All funds received by the Chapter 13 Trustee after the date of the entry of
                    the order of dismissal or conversion shall be refunded to the Debtor at their address
                    of record.

            (4)     Other provisions:


Dated: Sep 9 2013                                      /s/ Kevin R. Huennekens
                                                    United States Bankruptcy Judge
I ASK FOR THIS:

/s/ Carl M. Bates
Carl M. Bates
Chapter 13 Trustee
P.O. Box 1819
Richmond, VA 23218
(804)237-6800
VSBN: #27815

                                                    NOTICE OF JUDGMENT OR ORDER
                                                    Entered on Docket _______________________
                                                                       Sep 10 2013
